Case 6:24-cv-00351-RRS-DJA            Document 19        Filed 03/20/25      Page 1 of 3 PageID #:
                                             405


                              UNITED STATES DISTMCT COURT
                              WESTERN DISTMCT OF LOUISIANA
                                   LAFAYETTE DIVISION

PREPARED FOOD PHOTOS INC CASE NO. 6:24-CV-00351

VERSUS JUDGE ROBERT R. SUMMERHAYS

CLYDES CHICKEN KING INC MAGISTRATE JUDGE DAVID J. AYO


                           MEMORANDUM RULING AND ORDER

         Presently before the Court is Defendant's Application for Attorney Fees and Costs [ECF


 15]. Plaintiff opposes the Application.

         The present case was initiated on March 8, 2024 by Prepared Food Photos Inc ("Plaintiff')


against Clyde's Chicken King, Inc, d/b/a Chicken King ("Defendant") alleging copyright

infringement in violation of the Copyright Act, 17 U.S.C. § 501. Plaintiff alleged that Defendant

improperly used a copyrighted Image of a basket of fried chicken on its website. The Complaint


was served on Defendant on March 23, 2024 and on April 12, 2024, Defendant filed a Motion to


Dismiss or, in the Alternative, for Summary Judgment1 seeking dismissal of the case as it was


untimely. On May 1, 2024, the parties filed a Stipulation of Dismissal2 and on May 1, 2024, the


case was dismissed. Other than the current dispute over attorney fees, the case was pending for


less than sixty days.


         Defendant seeks attorney fees and costs in the amount of $36,320 as the prevailing party.


The Copyright Act of 1976 provides that "the court may . . . award a reasonable attorney's fee to


the prevailing party as part of the costs."4 In Fogerty v. Fantasy, Inc.5 and Kirtsaeng v. John Wiley




' ECF No. 8.
2 ECF No. 12.
3 ECF No. 13.
417U.S.C.§505.
5 510 U.S. 517 (1994).
Case 6:24-cv-00351-RRS-DJA                    Document 19   Filed 03/20/25     Page 2 of 3 PageID #:
                                                     406



 & Sons6 the Supreme Court laid out "several nonexclusive factors" that courts should consider in


making awards of attorney's fees. The factors include "frivolousness, motivation, objective


unreasonableness (both in the factual and in the legal components of the case) and the need in


particular circumstances to advance considerations of compensation and deterrence ... so long as


 such factors are faithful to the purposes of the Copyright Act."7 In Kirtsaeng, the Court said that


 courts should "give substantial weight to the reasonableness of [the losing party's] litigating


position, but also take into account all other relevant factors."8 The Fifth Circuit has put particular


 emphasis on the objective reasonableness of the losing party's position and considerations of


 compensation and deterrence.9


          In the present case. Defendant argues that Plaintiff's main business is "'extracting large


 sums in settlement of copyright claims.5 Defendant alleges that Plaintiff is not in the business of


 creating photographs, but rather "its main business is bringing copyright claims based on


 exaggerated damages theories, taking advantage of the lack of sophistication of the small


 businesses that it targets and their lack of ready access to knowledgeable and affordable copyright


 counsel."11 Plaintiff counters and suggests that counsel for Defendant is "an attorney with Public


 Citizen Litigation Group who has spent years blogging about Plaintiff and soliciting clients for

 which he can use to test his various theories/challenges to Plaintiff's litigation activity."12 It is


 apparent to the Court from the parties' filings that Plaintiff and Defendant counsel have a history


 with one another that extends well beyond the present case. The Court's focus here, however, is


the facts and claims of this case.



 6 579 U.S. 197 (2016).
 7 Fogerty, 510 US.at534n.l9.
 857PU.S.at208-10.
 9 Batiste v. Lewis, 976 F.3d 493, 507 (5th Cir. 2020).
 10 ECF No. 15, p. 1.
 11 M, at p. 14.
 12 ECF No. 17, p. 12.
Case 6:24-cv-00351-RRS-DJA           Document 19        Filed 03/20/25      Page 3 of 3 PageID #:
                                            407



       The Court has reviewed the case in the context of the Fogerty factors and finds that an


award of attorney fees and costs would not be appropriate. Although the case was voluntarily


dismissed immediately following the filing of Defendant's motion alleging that the copyright

infringement claim was untimely, there has been no finding regarding the merits of the copyright


claim. The Court therefore cannot find that the claim was frivolous or objectively unreasonable.


There is further no evidence in the record to reflect any motivation by Plaintiff other than the


alleged attempt to protect its copyright. The Court also notes that Defendant has acknowledged


that it repeatedly ignored communications from Plaintiff attempting to resolve this matter prior to


litigation. Further, Defendant chose to file the Motion to Dismiss alleging untimeliness rather than


communicating with counsel for Plaintiff. Since the voluntary dismissal was filed shortly after the


filing of the Motion to Dismiss, it is reasonable to assume that Defendant could have avoided the


necessity of filing the motion by simply communicating with counsel for Plaintiff that the lawsuit

was untimely. The Court finds that an award of attorney fees in the present case would not advance


the purposes of the Copyright Act. Accordingly, the Defendant's Application for Attorney Fees


and Costs [ECF 15] is DENIED.

       IT IS SO ORDERED.

        THUS DONE in Chambers on this 20th day of March, 2025.




                                                         ROBERT R. SUMMERHAYSf
                                                      UNITED STATES DISTRICT JUI
